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                                       STATEMENT OF FACTS


        Your affiant, Jamie L. Dvorsky, is employed as a Special Agent by the Federal Bureau of
Investigation (“FBI”). Specifically, I am assigned to the Washington Field Office, where I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 7, 2021, the FBI received a tip that JAMES ALLEN MELS of Township,
Michigan entered the Capitol building on January 6, 2021. The tipster (“T-1”) has known MELS
for several years. T-1 learned that MELS entered the Capitol building through a mutual known
associate. According to T-1, MELS may have been injured by rubber bullets while there.

       FBI agents conducted open source and law enforcement database checks, including a check
of the Michigan Department of Motor Vehicles (“DMV”) driver’s license records. Through those
checks, FBI agents located a DMV record for “James Mels.” The checks further revealed pertinent
biographical data, such as a date of birth and home address.

        On January 25, 2021, FBI task force officers (“TFOs”) conducted a non-custodial interview
of MELS in the parking lot of his residence. During that interview, MELS told the FBI that, after
a brief prayer, MELS entered the United States Capitol with the intent of speaking with an officer,
to present MELS’ copy of the United States Constitution and have his voice heard. Upon request,
MELS pulled his cellular phone from his pocket and, while holding his phone, showed the
interviewing TFOs pictures of the Capitol building.

        With MELS’ permission, the TFOs took photographs of MELS’ phone while the photos
were displayed. As depicted below, the photos include images of both inside and outside of the
Capitol building, including one photo which appears to have been taken in “selfie” mode. There
are also photos of statutes encased within the building. Your affiant recognizes the areas depicted
in the some of the below pictures to be the Senate Wing Door Hallway, the Crypt, the first floor
Atrium and the Hall of Commons:
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        MELS confirmed to FBI TFOs that he himself took the photographs depicted above while
he was in the Capitol building on January 6, 2021. MELS admitted being exposed to gas but denied
being shot with rubber bullets. MELS also told FBI personnel that he did not engage in any
violence and was not aware of anyone organizing violence. MELS advised FBI TFOs that he
traveled to the Capitol with 11 other “like minded Patriots” that he met through online platforms
such as “The Patriot Hour” and “X-22” because he believed the 2020 presidential election to have
been fraudulently decided.

        FBI reviewed images of MELS on MELS’ phone and compared those images with DMV
records, as well as direct observation of MELS’ appearance during the noncustodial interview
where MELS admitted to having been inside the Capitol on January 6, 2021. It is your affiant’s
belief that the person in the photos inside the Capitol is MELS.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
JAMES ALLEN MELS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that JAMES ALLEN MELS
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
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the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                    ______________________________________
                                                    JAMIE L. DVORSKY
                                                    SPECIAL AGENT
                                                    FEDERAL BUREAU OF
                                                    INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 10th day of February 2021.


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                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
